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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

GEORGINA WILLIAMS,
                                             Case No. 2:18-cv-11613
            Plaintiff,
                                             HONORABLE STEPHEN J. MURPHY, III
v.

OUTBACK STEAKHOUSE OF
FLORIDA, LLC,

            Defendant.
                                /

                                    JUDGMENT

      IT IS ORDERED AND ADJUDGED that, pursuant to the Court's order

dated June 20, 2019, judgment is entered in favor of Defendant.



                                      DAVID J. WEAVER
                                      CLERK OF THE COURT

                                      BY: s/ D. Parker
                                      Deputy Clerk
Dated: June 20, 2019

APPROVED:

s/ Stephen J. Murphy, III
STEPHEN J. MURPHY, III
U.S. DISTRICT JUDGE

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on June 20, 2019, by electronic and/or ordinary mail.

                                      s/ David P. Parker
                                      Case Manager




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